     Case 3:18-cv-00395-L-BLM Document 75 Filed 09/09/21 PageID.1446 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7                           UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
 9
10   CRYSTAL HILSLEY, et al.,                            Case No.: 3:18-cv-00395-L-BLM
11                                     Plaintiffs,
                                                         CLASS ACTION
12   v.
                                                         ORDER GRANTING MOTION TO
13   GENERAL MILLS, INC. et al.,
                                                         WITHDRAW MOTION FOR
14                                   Defendants.         APPOINTMENT OF INTERIM
                                                         LEAD CLASS COUNSEL; AND
15
                                                         GRANTING DISMISSAL OF
16                                                       PLAINTIFF-INTERVENOR’S
                                                         INTEREST IN THIS ACTION
17
18                                                       [ECF Nos. 67, 73, 74]
19
20         In this putative class action alleging deceptive food labeling, the Court granted a
21   motion to intervene filed by David Hayes, a named plaintiff in a related class action
22   pending in the Northern District of Illinois. (ECF No. 61.) To date Hayes has not filed a
23   complaint-in-intervention. On August 11, 2021, Hayes filed a motion seeking
24   appointment of his counsel as interim lead class counsel in this action. (ECF No. 67.)
25   On August 31, 2021, and before any response was filed, Hayes filed a motion to
26   withdraw his motion for appointment of interim lead counsel. (ECF No. 73.) On the
27   same date, Hayes filed a Notice of Dismissal seeking voluntarily to dismiss his interest in
28   this action with prejudice. None of Hayes’ pending motions are opposed.

                                                     1
                                                                                 3:18-cv-00395-L-BLM
     Case 3:18-cv-00395-L-BLM Document 75 Filed 09/09/21 PageID.1447 Page 2 of 2



 1         For good cause shown, Hayes’ motion to withdraw his motion to appoint interim
 2   lead class counsel (ECF no. 73) is granted. His motion to appoint interim lead class
 3   counsel (ECF no. 67) is hereby withdrawn. To the extent Hayes had a claim in this
 4   action in the absence of a complaint-in-intervention, the claim is dismissed with prejudice
 5   pursuant to his Notice of Dismissal (ECF no. 74) and Federal Rule of Civil Procedure
 6   41(a)(1).
 7         IT IS SO ORDERED.
 8
 9   Dated: September 9, 2021
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  2
                                                                               3:18-cv-00395-L-BLM
